     Case: 1:19-cv-01772 Document #: 34 Filed: 06/27/19 Page 1 of 1 PageID #:205




                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

METROPOLITAN LIFE INSURANCE
COMPANY,

       Plaintiff                                           Case No. l:19-cv-01772

              v.                                           Judge Edmond E. Chang

HELANA TSOUKALAS, JORDYN                                   Magistrate Judge Sheila M. Finnegan
TSOUKALAS, and A.T. (a minor)

       Defendants

                                              ORDER

       The matter coming before the Court upon the agreement of all parties,

       IT IS HEREBY ORDERED:

       1.      Metlife   is permitted to pay into the Clerk of the Court's interest-bearing registry
account the total amount of $858,547.50 plus any applicable interest, consisting of $859,000.00
in life insurance benefits ("Proceeds") payable due to the death of Christ Tsoukalas ("Decedent")
under Group Policy Number 213800-l-G ("Group Policy") issued by Metlife to Policyholder
City of Chicago, less Metlife's costs in the amount of $452.50 incurred in connection with this
interpleader action, plus any applicable interest;

       2.     Metlife, the Policyholder City of Chicago, and the benefit plan ("Plan") funded
by the Group Policy are discharged from any further liability for the Proceeds plus interest;

       3.       Helana Tsoukalas, Jordyn Tsoukalas, and A.T., are restrained and enjoined from
instituting any action or proceeding in any state or United States court against Metlife, the
Policyholder City of Chicago or the Plan for the recovery of the Proceeds, plus interest, by
reason of the death of the Decedent;

       4.     Helana Tsoukalas, Jordyn Tsoukalas, and A.T. are required to litigate or settle and
adjust between themselves their claims for the Proceeds; and

       5.      Metlife is dismissed with prejudice from this action.


                                                                Judge Edmond E. Chang


                                                       Dated:    T, Y\e, 21 ,7o$
